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                       IN THE UNITED STATES DISTRICT COURT
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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                   SOUTHERN DIVISION
20
21      MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and           )
22      CERCACOR LABORATORIES, INC.,          ) PLAINTIFFS’ OPPOSITION TO
        a Delaware corporation                ) APPLE’S MOTION TO EXCLUDE
23                                            ) OPINION AND TESTIMONY OF
                 Plaintiffs,                  ) PLAINTIFFS’ EXPERT ROBERT
24                                            ) PALMATIER
            v.                                )
25                                            ) Date: Feb. 6, 2023
        APPLE INC., a California corporation )) Time:   1:30 pm
                                                 Place: Courtroom 10C
26                                            )
                 Defendant.                   )
27                                            )
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1                                      I. INTRODUCTION
2            Apple brings two challenges to Dr. Robert Palmatier’s October 6 Opening Report.
3      Neither has merit. Palmatier is an expert in business and marketing. His report offers
4      opinions on the development, use, and misappropriation of Masimo’s business and
5      marketing and hospital interaction trade secrets (the “Trade Secrets”).
6            Apple first challenges Palmatier’s opinion that Masimo and/or Cercacor
7      developed and used the Trade Secrets. But Apple identifies no actual flaw in that
8      opinion. Instead, Apple criticizes Palmatier for not providing a different opinion
9      distinguishing between Masimo and Cercacor regarding the development and use of the
10     Trade Secrets. Nothing requires Masimo or Palmatier to present expert testimony on
11     that issue. This Court previously found “Apple has cited to no law requiring that
12     plaintiffs suing together specify which of them owns a particular trade secret.” Dkt. 264
13     at 9–10.
14           Even if Apple’s view of the law were correct, nothing would require Masimo to
15     address that issue with expert testimony. Masimo can present such evidence with
16     documents and fact testimony. Palmatier’s testimony is independently reliable, relevant,
17     and helpful. Palmatier applies his considerable expertise to explain the strategies
18     described by Masimo’s Trade Secrets and how Plaintiffs’ documents establish the use
19     and development of those Trade Secrets. That Palmatier did not provide an expert
20     opinion distinguishing between Masimo and Cercacor is no basis to exclude the opinions
21     that Palmatier did provide.
22           Apple’s second challenge is based on the incorrect premise that Palmatier did not
23     explain the scope of the Trade Secrets. Palmatier explained (i) the Trade Secrets,
24     (ii) why Masimo’s evidence demonstrates Masimo’s development and use of the Trade
25     Secrets, (iii) how Apple misappropriated the Trade Secrets, and (iv) why Apple’s
26     analysis does not show the Trade Secrets were “generally known.” Apple focuses on
27     Palmatier’s declining to “define” certain words for the first time at his deposition. But
28     Apple never explains why those specific words—among the hundreds of words in

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3                   c.    Palmatier Applies the Trade Secrets to Apple Evidence
4            Palmatier next addresses Apple’s acquisition and use of the Trade Secrets.
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27           Palmatier next traces Apple’s business and marketing strategies from Apple’s
28     initial misappropriation to later Apple products, applications, and marketing. Id. ¶¶147-

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1    development, use, and implementation of each trade secret, as well as the facts exhibiting
2    Apple’s use of the trade secrets, make clear the scope of the trade secrets.
3    C.    Neither Side’s Marketing Experts Distinguish Between The Two Plaintiffs
4          In Their Expert Reports
5          Masimo’s expert, Palmatier, addressed the development and use of Masimo’s
6    Trade Secrets in his opening report. Ex. 1. Palmatier defined “Masimo” to refer to
7    “Masimo and/or Cercacor.”       Ex. 1 at 1 n.1.     Palmatier explained that he would
8    “endeavor” to refer to “Masimo Corp” or “Cercacor” where “a distinction between
9    Masimo and Cercacor [was] relevant to [his] analysis.” Id.
10         Apple’s marketing expert, Kivetz likewise did not distinguish between Masimo
11   and Cercacor when opining on the same issues, instead addressing both plaintiffs as
12   “Masimo.”
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27         Palmatier explained, however, that if a document made “clear it was specifically
28   only addressing one firm and somehow not the other firm, then that would be a situation

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1    where [he] would call it out.”         Id. at 158:19-159:3.      Palmatier explained
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7                                   III. LEGAL STANDARD
8          Expert testimony is admissible if the party offering such evidence shows that the
9    testimony is both reliable and relevant. Fed. R. Evid. 702; Kumho Tire Co. v.
10   Carmichael, 526 U.S. 137, 147 (1999); Daubert v. Merrell Dow Pharms., Inc., 509 U.S.
11   579, 590-91 (1993). Federal Rule of Evidence 702 permits expert testimony if “(a) the
12   expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
13   understand the evidence or to determine a fact in issue; (b) the testimony is based on
14   sufficient facts or data; (c) the testimony is the product of reliable principles and
15   methods; and (d) the expert has reliably applied the principles and methods to the facts
16   of the case.” Fed. R. Evid. 702. An expert can be qualified “by knowledge, skill,
17   experience, training, or education.” Id. The court has “broad latitude” to decide how to
18   determine the reliability of the testimony and whether the testimony is in fact reliable.
19   Mukhtar v. Cal. State Univ., 299 F.3d 1053, 1064 (9th Cir. 2002); see Kumho Tire Co.,
20   526 U.S. at 141.
21                                       IV. ARGUMENT
22   A.    Palmatier’s Opinions Need Not Distinguish Between Masimo and Cercacor
23         Apple first attempts to exclude Palmatier’s opinion that Masimo and/or Cercacor
24   developed and used the Trade Secrets. Mot. at 9. But Apple identifies no flaw in that
25   opinion. Rather, Apple complains that Palmatier did not provide a different opinion that
26   distinguished between Masimo and Cercacor regarding development and use of the
27   Trade Secrets. Apple does not explain why the reliable opinions that Palmatier provided
28   should be excluded merely because he did not provide a different opinion.

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1          Apple also fails to explain why it matters whether Masimo, Cercacor, or both
2    developed or used the Trade Secrets. This Court previously rejected the same argument
3    as wholly unsupported. Dkt. 264 at 9–10. As explained in Masimo’s oppositions to
4    Apple’s co-pending motions, nothing requires co-plaintiffs prove up a division of
5    ownership for each trade secret. Dkt. 1133-1 at 2-5 (opposition to Apple’s motion for
6    summary judgment); Dkt. 1132-1 at 8-10 (opposition to Apple’s motion to strike
7    supplemental response to interrogatory no. 33); see Cedars Sinai Med. Ctr. v. Quest
8    Diagnostic Inc., 2020 WL 10460620, at *4 (C.D. Cal. Mar. 5, 2020) (“possession is
9    sufficient to assert a trade secret claim as long as secrecy is maintained”).
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13         Even if Apple were correct, however, Palmatier would not need to address this
14   issue. Masimo’s documentary evidence and fact testimony alone would allow an
15   ultimate legal conclusion on ownership, without expert testimony.           Palmatier’s
16   testimony would still be reliable, relevant, and helpful for (i) explaining Plaintiffs’
17   confidential business strategies and (ii) showing Plaintiffs’ use and development of the
18   Trade Secrets.
19         Apple argues Palmatier’s opinion will be unhelpful to the jury “where he cannot
20   opine as to whether Masimo Corp. or Cercacor developed and/or used” each trade secret.
21   Mot. at 9. But Palmatier does not have to distinguish between Masimo and Cercacor to
22   provide helpful testimony about the development and use of the Trade Secrets. As
23   discussed above, Apple’s marketing expert provided his opinions regarding the same
24   subject matter without distinguishing between Masimo and Cercacor. See supra Section
25   II. C. The agreement between Masimo and Cercacor will control ownership, and that
26   division between Masimo and Cercacor is not relevant here.
27         Apple identifies no cases excluding an expert for failing to distinguish between
28   co-Plaintiffs. Apple’s cases address other facts and arguments. Indeed, most of Apple’s

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1    cases excluded experts who, unlike Palmatier, did not have the relevant expertise or
2    testified beyond that expertise. See Grasshopper House, LLC v. Clean & Sober Media
3    LLC, 2019 WL 12074086 at *3 (C.D. Cal. July 1, 2019) (expert’s opinion extended
4    “beyond” his expertise); Lopez v. I-Flow Inc., 2011 WL 1897548 at *10-11 (D. Ariz.
5    Jan. 26, 2011) (same); Stirick v. Dreamworks, LLC, 2006 WL 6116641 at *29 (C.D. Cal.
6    July 20, 2006) (expert did not have relevant expertise); Castaic Lake Water Agency v.
7    Whittaker Corp., 2002 WL 34700741 at *5 (C.D. Cal. Oct. 25, 2002) (same); Burrows
8    v. BMW of N. Amer., LLC, 2018 WL 6314187 at *2 (C.D. Cal. Sept. 24, 2018) (same);
9    Threet v. Corr. Health Care Mgmt. of Oklahoma, 2009 WL 3335596 at *4 (W.D. Okla.
10   Oct. 15, 2009) (same). Here, Apple does not challenge Palmatier’s expertise. Indeed,
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12                                                        see also Arevalo v. Coloplast Corp.,
13   2020 WL 3958505 at *21 (N.D. Fla. July 7, 2020) (Apple cited case in which expert
14   merely “parrot[ed] Defendant’s corporate documents”).
15   B.    Palmatier Need Not Define Specific Words of the Trade Secrets
16         Apple next attempts to exclude all of Palmatier’s opinions based on the assertion
17   that he “offers no explanation as to what the alleged secrets mean,” Mot. at 11. Apple’s
18   assertion is incorrect. Palmatier provided extensive testimony explaining the Trade
19   Secrets and also demonstrated his interpretation of the scope of the trade secrets through
20   his analysis explaining (1) how Masimo’s evidence demonstrates Masimo’s creation and
21   possession of the Trade Secrets, (2) how Apple acquired and used the Trade Secrets,
22   (3) why Apple’s analysis does not show the Trade Secrets were “generally known”, and
23   (4) how Apple’s experts improperly rewrite and recharacterize the trade secrets. See
24   supra Section II. A. Apple’s marketing expert acknowledged one could evaluate
25   Palmatier’s interpretation of the scope of the Trade Secrets by examining Palmatier’s
26   analysis of these issues. Ex. E ¶55. Palmatier did not simply present a “narrative” and
27   “leap” to a “conclusion,” as Apple argues. Mot. at 12; see also Teledyne Risi, Inc. v.
28   Martin-Baker Aircraft Co., 2018 WL 11352632 at *7 (C.D. Cal. Apr. 24, 2018)

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1    (“[E]xperts are permitted to analyze materials and formulate a narrative based on that
2    information. Indeed, this is one of the primary purposes of expert witnesses—to analyze
3    and summarize information” to help the fact finder).
4          During his deposition, Palmatier offered to discuss and explain how he was
5    applying the trade secrets in various portions of his report. Ex. 3 at 226:17-227:11.
6    Apple instead demanded that Palmatier formally define particular terms in the abstract,
7    unconnected to the trade secret as a whole. Ex. 3 at 92:14-98:19, 222:25-226:16;
8    226:17-227:11; 231:23-233:4; 246:5-7. Apple cites no authority requiring an expert to
9    define specific words within a trade secret. Such an approach may improperly enlarge
10   or reduce the scope of the Trade Secrets, inviting error. Indeed, Palmatier explained in
11   detail how Apple’s expert’s attempts to rewrite the Trade Secrets eliminated large
12   portions of the Trade Secrets. See supra Section II. A.2.
13         Moreover, Palmatier properly addressed the concepts reflected by Apple’s cherry-
14   picked words—in the context of the trade secret as a whole—while explaining the Trade
15   Secrets and applying them to this case. See, e.g., Ex. 1 ¶¶83, 86, 115, 123-24, 174; Ex.
16   2 at 129 ¶248; Ex. 3 at 248:24-249:15. To the extent Apple disagrees with Palmatier’s
17   opinions, those disagreements should be the subject of cross-examination. See Planned
18   Parenthood Federation of Amer. Inc. v. Center for Medical Progress, 402 F. Supp. 3d
19   615, 719 (N.D. Cal. 2019) (defendant’s challenges to expert’s “methodology” and
20   failure to define a term were “in the end, the sorts of issues that are appropriat[e]” for
21   “cross-examination,” not exclusion).
22         Apple claims Palmatier’s opinions are of “no use to a finder of fact” because
23   Palmatier did not define Apple’s selected words. But neither of Apple’s expert reports
24   on the business and marketing trade secrets identified specific definitions for terms in
25   the Trade Secrets. Kivetz rejected any suggestion that “particular words” in the trade
26   secret were unclear. Ex. A at 284:3-11. Plaintiffs asked Perez to identify terms he
27   thought could “be interpreted in different ways.” Ex. C at 45:22-46:16. Perez did not
28   identify three of the four terms Apple identifies in its Motion. Compare id. with Mot.

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1    11:8-11.
2          Apple also argues, without support, that the Trade Secrets contain terms having
3    unidentified “specialized meaning[s]” of “terms of art, science, or trade.” Mot. at 11.
4    But Apple’s own experts could not even agree on what expertise would supposedly be
5    required to interpret the words.
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12         Regardless, Apple could have argued the Trade Secrets contain specialized terms
13   requiring definitions when it challenged Masimo’s 2019.210 statement. Instead, Apple
14   submitted a 100-page expert declaration that addressed only the technical trade secrets.
15   Dkt. 259-3. The Court found that Masimo identified its trade secrets—including the
16   trade secrets at issue here—with reasonable particularity. See Dkt. 279; Ex. F at 17:9-
17   12, 41:17-18 (adopting tentative “find[ing] that the disclosures meet the requirements of
18   Section 2019.210 and the cases interpreting it that the trade secrets have been identified
19   with reasonable particularity.”); Dkt. 264 at 4, 8-9 (order rejecting Apple’s argument
20   that complaint did not describe trade secrets with sufficient particularity).
21         Apple’s arguments also ignore the context in which the Trade Secret terms appear.
22   The Trade Secrets, which Apple describes as “lengthy,” explain their scope in detail.
23   Mot. at 11.
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1          Apple presents no authority requiring an expert to define the terms of a trade
2    secret. Apple cites Pacific Fuel Co. v. Shell Oil Co., 2008 WL 11336467 at *5 (C.D.
3    Cal. Jan. 24, 2008). But Pacific Fuel did not exclude testimony or require an expert to
4    provide definitions. Instead, Pacific Fuel permitted a variety of testimony and held an
5    expert’s definition of a contract term was permissible despite the “general rule that
6    experts cannot offer testimony on the meaning of contractual terms….” Id. at *5.
7          Apple’s remaining cases are likewise inapposite. See Perez v. State Farm Mut.
8    Auto. Ins. Co., 2012 WL 3116355 at *6 (N.D. Cal. July 31, 2012) (expert selected
9    sources without analyzing “contrary” sources); Kovary v. Honeywell Int’l, Inc., 2014
10   WL 12564090 at *4 (C.D. Cal. Mar. 17, 2014) (expert failed to adequately explain
11   conclusion); General Electric Co. v. Joiner, 522 U.S. 136, 147 (1997) (expert relied on
12   studies that did not support conclusion); United States v. Adams, 444 F. Supp. 3d 1248,
13   1266 (D. Or. 2020) (“[n]othing in Mr. Grover’s testimony explains how or why he
14   reached his conclusion”); In re Mirena IUD Prods. Liab. Litig., 169 F. Supp. 3d 396,
15   484 (S.D.N.Y. 2016) (expert did not apply “her expertise” in offering conclusions).
16         Indeed, Apple’s only trade secret case, Comet Technologies USA Inc. v. XP Power
17   LLC, rejected a motion to exclude testimony regarding “whether something qualifies as
18   a trade secret, as well as whether trade secrets were misappropriated.” 2022 WL
19   2442810 at *3 (N.D. Cal. Mar. 2, 2022). Comet cited previous cases allowing such
20   testimony and observed that the “appropriate mechanism to challenge this testimony
21   [was] cross-examination.” Id. The same is true here. Apple is free to cross-examine
22   Palmatier at trial if it truly believes that his opinions are flawed merely because he
23   declined to offer dictionary definitions of particular words in a vacuum.
24                                    V. CONCLUSION
25         For the reasons discussed above, the Court should deny Apple’s motion.
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1                                  CERTIFICATE OF COMPLIANCE
2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 5,082 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
7    Dated: January 17, 2023                    By: /s/ Stephen W. Larson
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